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UNlTED STATES Dl$TRlCT COURT 6 '
WESTERN D!STR|CT OF WASH|NGTON AT SEATTLE

 

VEN|CE Pi,LLC, ) Civil Action No. 17~cv-990TSZ
Plaintiff ` ` ) '
Vs ' `, s )

, f `i
JONATHAN DUTCZAK; )
GARRETT COX;

MAR¥ ELLEN AVELAR;
ooE 5`; ,

'WlLEUR~ MlLLER; `
RGSLYN CGV; '

LLANG SUN;

FASlKA GETAHUN; and
STACY FOSTER}`
Defendants.

Minute Order Response Document 37v 11.03.2017 '

t

`r~¢`rvvvv _" v

Dated 12.14.2017

 

FACTS AND §EASON|NG

 
 

y l, Jonathan Dutczak, a'm responding to the court's minute order and*Piaintri?s responses .
,To begin with, Plaintiff has earlier claimed that a for§nsic review oftny compijter`s w6uld be critical §nd '
the oniy way of proving that l have committed infringement This review has not been used as a means v

to prove anything by the Plaintiff' in his extensive lawsuits and certainly not with myself. Furthermore,
P|aintiff is not being allowed to forensically review my computers and as such cannot prove any
component of his case and has basically run out of time to satisfy the court"s minute order. Note §
Defendant's computers are used, traded for and outdated. Had the Plaintiff not initiated so many bogus _
lawsuits throughout America he and his experienced law firm would have been able to focus on this

case, not overly burdened this court with all these filings for time extensions`and not run out of time.

Actually seeing inside my computers tells what is really there and trumps experts who cannot see insida ' ‘

my computers, trumps spoofing or backing attacks, and trumps most schemes from the tilath S_tiil
the question of ownership and responsibility would not be satisfied since l have no idea of how many
times these computers changed hands or how the computers were built (at home by amateurs or at a
company), their configurement, whether original memory is there and operating systems used to run
the computers and accompanying updates Besides, P|aintiff has not ever shown using forensics to aoive
a case since costs of $S, 000 or more defeats the purpose of acquiring $3 200 (approximat_ely) default

, judgements. Our King County Guild computer (frorn where l work; Seattle and Kent Jaiis) was recently ; ~
forensically reviewed by upset officers who discovered their Gui|d dues had been ripped off fo_ j (,
Nothing was found by the accounting firm hired t_o seek out records of the Guild’s spendin§ habits since ,
the hard drives were wiped clean. Note that information can be added or removed from the computers,

 

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used by others with or without permission,,sy borrowed and so forth. l can call my ISP and they can '
willfully take control of my computer and-fix it or just review it to see if l am infected l did this with
Centurytel about fifteen years ago over the telephone Most people believe they actually control their
computer when nothing could be further from the truth. The point here is not to blame Defendaots for ,_
things whichmay have happened on their computer since these used machines are already filled with
torrents, used by innocent children, spoofed and backed by neighbors, drive byes or anyone connected '
to the internet. Many internet scams take control of your computer after a user sees a threatening pop
up, calls the scammer who claims to be able to fix your computer, transfers control to the scamrner who l
often puts a real virus into your computer, and then the scammer charges a fee to the user who often
does not realize they have been scammed.

Regarding iP addresses and the Plaintif_f’s tracking method Firstly, |P addresses are shared and exist
throughout the entire world' m the billions. lnternet users are differentiated via identical and reusable iP
addresses because of being acquired at different times and noted as such. The lP addresses are only as
good as their source which 1s often manipulated, created for a smail fee_, wrongly identified as to its’

rightful owner, placed into a homemade, Comcast, or store bought Excei box and then introduced bythe* < * iv

Plalnti iff as evidence of infringement lt rs frightfuliy becoming child‘s play just like joining Ai~Qaeda over
the internet, having a phony girlfriend or boyfriend relationship that is Cyber space driven, creating false
news stories or making movies with long dead actors and positioning them into current movies and of -
course, photo shopping camera pictures'. Nobody knows what they are looking at anymore and
especially who created it

Plaintiff's claims "The materials shared and downloaded would not be of interest to a child (id )” is
grossly opinionated. The movie in question lost quite a bit of money. However, it is totally within the _
` range of a chiid's interest as well as many adults. Besides, nobody really knows who watched what in 1
this country nor anywhere eise. Plaintiff makes this claim solely to promote his assertion that in no way
would a household have a child download this move (thereby being innocent of wrong doing) since a
child would not be interested in it in the first place. That is like saying l’m omniscient and can tell you
everything that happened since l know everything These movie companies try to make a profit, do
surveys,. market and target children and their parents and sit back while families entertain themselves l
have never seen anything that does not capture a child's attention.,

To satisfy the Minute Order of proving that material tracked to the Defendant was playable the
Plaintiff would have to find it on one of my computers, confirm it was not already there (l oniy have
"used "cornputers), show it as being downloaded in it’s entirety so that it can even play, and prove that
this copy was actually from the film maker and not a camco_rder, blue ray, xvid_, or any other modified
source. These torrent swarm interlocked specs of information are totally unplayable until complete and y
visibly confirmed by the naked eyed and absolutely nothing can prove otherwise »Even the sizeof the
file would have"to match the original otherwise it is somebody else,‘s property and remember:~~movies l
are often matched in size especially if sourced from a disc or made to be of one size. Even each piece of
the torrent grouped together in a file would need human review just to confirm what is there. Who
, knows what was uploaded at these torrent sites. Users unwittingly download Trojans,rpornography,
infected materials, spam, promotions and viruses each and every day. Our emails, back doors, choking
onto anything from any website can lead to a downioad of any type of material and without itemized
review there is no way to tell what is going on in your computer or who is doing activity on a computer, "
~ That is why defector and computer expert Edward Snowden hides under a large towel whenever he
signs onto a computer: he knows how dangerous a computer is. Oftentimes, invasive programs from ~

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sites continue to grow, take root into a computer, and mask anything done on that machine. This is why `
our Russian neighbors were able to spoof our U. S. election Banks are hacked, Uber‘ is corrupted, Sociai
Securlty, Governments, my computers, credit cards, medical records, S. W. A.T. team incident locations
and anything dependent on airways or wires is backed routinely The infiltrators cover their tracks well
as exemplified by misidentification of culprits, over a year’s review of what happened to our election
with no answers, two Uber attacks and nobody knows whether it is A|' Qaeda or my dead Grandrnother
doing this (yeah, dead people now take wrongful blame for actions all the time).

Forensic review has been postponed m this matter so this threshold is not possible by the Plaintlff. As
such, Plaintlst suit is ”dead”. l think it was a big mistake for the Plaintlff to threaten me with forensics
and his dependency of such necessary actions because it actually disputes everything he and his bogus
experts claim to be able to acquire or have acquired in reality, Plaintlff does not know who is a culprit, if `
a crime was even committed, or its source or motive. Hard evidence rather than speculation must be
used for plausibility. Defendant has no history nor has he distributed anything as claimed by the
Plaintlff.

The Plaintlff inundated my email system with the same and additional claims of his case and~,,pngoing
requests for me to help him and the FB| solve this matter'but also bypassed rule 26 (F) and pursued
discovery through intimidation rather than play fairly by the rules. There is a wrongful component to c
make me rush m these rather unchartered waters so that l operate in fear, face a stringent learning
curve, and appear to be ignorant or a simpleton. Such actions mentally fatigue me, instill fear with the
possible loss of my job here at the jaii, discredit me, anddefame my good character. This Plaintlff is
indiscriminate in who he pursues and really needs help. The last words singer Keith Cassidy of the
Partridge Family said to his estranged Daughter Katie Cassidy were: ”So much wasted time”. The plaintiff
is wasting everyone s time here. With all due respect, the Plaintlff reminds me of Adolph Hitler’s quotes
”lf you tell a big enough lie and tell it frequently enough, it will be believed. ”

The Plaintlff has not acted as a professional attorney here in Washington State. The State’ s governing
"Bar“' would expect Plaintlff land his team of lawyers) to be fair and treat.their Defendants with respect
The Plaintlff claims to having done over 1,000 infringement cases which l find to be evidence'of` long
term wrong doing towards Defendants:(see Exhibit A Flaintiff's email to Defendant). With over three
decades as a-Correctional Officer, Sergeant level Supervlsor experience in Texas'Prisons, being a Speclal
Operations Response 'i'eam Officer (tra'ined by S.W.A.T.‘), two years as a West Point Cadetand having `
served my country for four years in the Arrny, l too can claim to recognize a wrong doer. The Plaintlff is a
wrong deer because these lawsuits are taking advantage of others and the Plaintlff has become sloppy "
and over confident in his greed and exhibits the character of ”champerty” Champerty means: an illegal
agreement° m which a person with no previous interest in a lawsuit finances lt with a view to sharing the
disputed property if the suit succeeds Plaintiff's uses German expert Dr Simone Richter to explain and
illustrate theMaverickEy~e software which captured the hash mark, computer blip and iP address of
Defenclants. The doctor's 02 April 2014 paper is not specifically directed at this lawsuit nor is it current
or updated to meet the ever`changing computer field of today. Passwords and computer code are
overcome and backed routinely like a flu virus upgrading its‘ defense to antibiotics Bes'ides, using paid
experts to promote Plaintlst claims is hardly a basis for truth. Dr. Richter makes a living as a ? `
professional witness for the German Government and is outdated (no different than the Plaintlst
dragnet profession as an alleged “internet infringement troll"). Todays computer activities and events
should not be held to an outmoded standard Furthermore, Dr. Richter 1s not likely to travel from

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expects experts doing investigations of Washington residents land their testimony) to,be iicensed and
bonded byWashington State`. Here, unlicensed entities claims for the plaintiff are illegal and disqualified

~ no accompanying “ lip” as associated as with the Venice movio. These movies are not owned by“ ' '

, the Piaintii!`or part of an acquisition of rights to copyrighted Works, or used by the Plaintiff to » j 1 ' '

 

addresses which are reused and of no source or association with the Defendant. German software is not

Moreover, Plaintil‘i's using alleged different experts whose signatures and resumes resembled each § f w ,_ al 7 c
_ other to such n extent that they were deemed copied with no such expert even existing (hence the ' ' " l

reasoning behind using foreigners)' is inadmissible and rather bold. l even found a lawsuit from a;'female

lawyer so similar to Mr. Lowe's (Plaintiffl that l was uncertain and unable to differentiate who actually

wrote their respective lawsuits l admit that sounds vague but it did happen and is plausible Overali, the v 4 v

Plaintlff is hoping that the judge will not question the background and credentials of his experts and has "

The court should recognize the threats, Plaintlff’s false pursuits of doing justice'by claiming copyright `
` infringement, the bypassing of Rule 26(f) (Exhibit A labeled Mr. Lowe Email), the constant intimidation

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and sloppiness of F|aintlff's cut and paste style of formulating claims (see iudge Richard `A. ioan €ase ;' ' `
2116~cv-01272-RA1), ongoing resubmission of Plaintlff's claims, lack of current updated expertise and""
that using a foreign non U.S. (Germany) 2004 expert amount to a mockery of the court system and are
deceptive in nature. This Plaintiff will likely only respond to the court'si decrees and admonishment of
his actions, fines and counter measures by the Washington Bar after an lnvestigation, pressure by the
media and pubiic outcry. There is no measure to the damage done by the Plaintiff to the public lust the
ongoing plots to avoid and ignore deadlines, court no contact orders of pro se defendants and broad
stroking claims against Defendants burdens me and promotes this effort (aithough l am only a pro se
layman).

in Prisons and Jails the Plaintiff would be locked down, unable to provoke others that conform to '
rules (and just want to do their time). and". later placed`back inv the general population once his l)eha'lrior~.1 .'
warranted thet. l believe the Plaintlff's disbarment for a length of time and later warranted » y
reinstatement,is in order here. l have never enjoyed treating inmates and prisoners to such=measures
but the history of their behavior warrants such measures and is often ali they respond to. The Plaintiff’s '
claim and history of over 1.000 cases shows the Plaintiff is running amok and has nothing to fear. The
courts are catching on but it is slow progress for several reasons To begin with, there is a learning curve
to overcome when dealing with difficult and intangible matters regarding computers and airways These
alleged computer experts and program writers resemble statisticians in many ways. `By using a statistic ,
an expert can justify any claim or point they are trying to make. lust think of President Reagan using a
chalk board, pointer, and graphs to justify his plans of action in this country Worldwide lP addresses
worldwide movie distribution, a Federal Court system being manipulated by computers and internat
court processing exemplify my point that there is much to comprehend Moreover, the Plaintlff is not
afraid of Defendants because most of them are ignorant of how to defend themselves.`Pla~intiff’s claim
does not add up that 1,000 of Plaintlst cases have never shown an innocent person (other than l
children or neighbors and tenants) who unfortunately are associated with an lP address or one
accessible to others. Plaintlff's claims that computers are pass word protectable, WiFi is inaccessible to
others and non spoofable and that Defendants must inform the FBl and authorities and even become
the Plaintiff’s personal police force to righteously seek out copyright infringers is outrageous._.lust
because l look like a police officer in my jail guard uniform does not'perrnit me to imperson;te obe. in
effect the Plaintlff has repeatedly asked me to break the law which is alarming and very boid.'For fruits

' some time the Plaintiff has used the yAmerlcan Fecleral Court System to partake in this nefariouslactivity
as well.

.Pia~intiff'sciaim: "The~physical location and layout of Defendant's residence makes it unlikeiy that his
lP address was hijacked by a neighborror passerby" is false. Realiy? The Defendant had 37 ava.ilabie WiFi _
connections when first reviewed in his apartment Anyone nearby could infiltrate my computer via these
entrée points Also, 763 apartments grouped together and 9 other previously named apartment

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complexes, with additional homes and businesses (all within one mile of Defendant) afford piggy
backing and spoofing of Defendants WiFi computer connection Plaintlff's geo location claims only
remotely identify Defen_dant's iP address location and are hardly a reliable source of pinnin'g a crime
scene to the Defendant’s residence The computer public' is simply too concentrated in my area to
isolate anything. Even a culprit’s hand held cell phone ”passing bye" can attach and spon itself to
Defendant's computer, and then send data (via the phone) to a computer 10,000 miles away without
being detected . l . y 4
Furthermore, the Plaintlff takes no risks of losses because pro se defendants are not usually entitled to
monetary compensation in these matters. However, once a demand letter from‘another attorney is

' presented to this Plaintlff the results are different So far, Lee and Hayes iil.LC law firm have made the §
Plaintlff drop at_least 12 infringement lawsuits( (Fight c Tro|ls/magazine published Apri;S, 2017) website:

https :.//fightcopyrighttrolls com/2017/04/05/copyright~troll david lowe-dropped~eleventh-defendant-
after-defense-attorney»threatened'to-expose-fraud/ ) '

because of fears of attorney fees to the Plaintlff, exposure of Plaintlst scheme thereby arrning other
victims with legal approaches to defend themselves, the strength of tee and Hayes arguments, and ways
for other attorneys to profit from Plaintlff's expioits (other than averaging about $350 to $750 in n
Defense attorney fees for Defenclants going directly to a settlement with no contesting on the
Defendant’s beha|f). in fact, direct uncontested settlement is a travesty given that both Defendent and
Plaintlff attorneys profit from these types of lawsuits Given the Plaintiff’s'claim to over 1,060 successful
lawsuits illustrates how desirable and profitable these lawsuits have become but also what an insultit is
that such events occur (l believe Plaintlff meant 1,000 Defendants and 100 |awsuits). Everybody gets a
piece of the Defendant's pie (settlement for the Plaintlff) to include the Plaintlst and Defendant’s law _`
firm, the foreign and domestic experts hired by the Plaintlff, the source of the alleged infringed material,
and so forth. Society and the tax paying public at large pay a priceer the Plaintlff's greed*wlth denying
justice in credible matters, impairing trust and usage to anyone using a computer and those affected by
computers, lSP agencies, our governments overall trust in people and so forth (hence the Charnperty
element). _
Characteristic arguments shown in the Fight c Tro|ls article regarding Lee and Hayes _LLC also apply to ` s
the Defendant's case, experts, court law, other attorneys and conclusions and outcomes in similar cases
a(i highly praise their efforts and owe their insight a great deal as follows). Firstly, the Defendant’s
lnternet Provider (iP) address is not a justifiable basis of the Plaintlff's claims. Basica|ly, based largely on
this address, the Plaintlff believes Defendant was involved in a bit torrent swarm which reassembled
fragments of a movie used to produce an entire film. in reality only a snap shot of li' addresses~inthe_
torrentswarm was acquired and then listed as evidence (exhibit b) by thie`PIalntiff. The Defendant's li* v .
address only shows who pays the Comcast bill (Defendant) and not what may have occurred on one-of
the Defendant's devices (computers)§ The De'fendant's computers have no trace of the production of the
movies “Cince Upon a Time in Venice.” which is the alleged movie infringed upon. This movie was not
erased but rather never existed. Without discovery (to include forensic examination of devices in
defendants apartment) an |P address is unreliable and seriously weak as a claim. The Plaintlff is not in a
position to satisfy the Minute Order's expectation of showing that Defendant’s infringed movies are
whole and playable since Plaintlff has never even seen my computers let alone play a movie on them.

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No proof or plausibility is retrievable at this point for the Plaintlff
l have spared the courts additional or repeated arguments so that a concise and clearer review of my ./
Claims can occur. Additional insight is available in my first motion to dismiss. Piease note that all
' referenced claims at the Fight c Trolls were directed at Mr. David Lowe (the Plaintiff). Plaintifl"is simply
playing the odds of thisiFederaliy funded “fishing expedition” and regards the occasional dismissals of
defendants as bycatch to be thrown back into the ocean.
Should the court find in my favor to dismiss with prejudice l would also seek monetary restitution in
this matter. And here l thought l would have an uneventful Christmas.

CONCLUSiCN:
Please dismiss Plaintiff's lawsuit based on A. The reasoning and facts stated above; B. This response to~
the Minute Order; and C Defendant's yet unanswered first Motion to Dismiss with prejudice

This motion is truthful under penalty of Perjury,

,C..

 

Jonathan Tecl Dutcza`k
12. 14.2017

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XF|N|T¥ Connoct jonathanduhcz¢ll§omnet
, / ~ + Font Sin`o";_
. mine PI v. Does, 17'cv-990
y From: David Lowe <iowe@lowegrahamjones.com> Fri, Oct 13, 201'! 04:34 PM l

$ubject: RE: Venioe PI v. Does, 17-cv-990
To : JONATHANDUTCZAK <jonathandutczak@oomcast.net>

Mr. Dutczal<.',

Thanl< you for your entail and l..etter As previously mentioned, we are happy to discuss tth case or"
work with you informally to identify the responsible party, if you wish But that if of course not
required on your part.

As you know, Wc represent the Plaintlff , the owner of the infringed copyright in the movie. W€~ f
strongly encourage you to consult with an attorney to review/your righh in ` '
Conhe€tion with this matter. If you retain an attorncy, please have them contact us. lf you
continue this discussion with our oilice directly, we understand that you have opted not to retain an
attorney at this time. Again, let us know right away if that status changes

As previously explaincd, you have been identified by the Internet Service Provider as the»party
responsible for the above“idcntified lhternet Protocol (“IP”) address at the noted physical address at
a time this IP address was being used to distribute the motion picture We have evidence that
someone using your Inter'nct service placed a media tile that contains protected film content for the
motion picture in a shared folder location enabling others to download copies of this content
Through a direct connection to the infringing computer we have also have obtained the fi,i.e»narne
used, specifics related to the software used, the tile size and additional metadata, all corresponding
to the IP address assigned to you at the time the infringing activity occurred ln addition, we have
found this same IP address associated with the BitTorrent download of multiple other titles over an y
extended period of time Wi.th the observed activity associated with your IP address, this type of
material is likely tied to an adult(s) at the address who was a permissive user rather than young
children `

lf you arethe responsible party, or wish to take responsibility for infringement that occurred in your
household or with your authorization please let us know. Once we identify thc responsible p'axty,v we ~
are authorized to engage in a coniidential settlement discussion in an effort to resolve the case

before extension litigation All such discussions are protected under court rules related to

settlement namely, as “l:"`R 408” Settlernont discussions Wc have settled many cases amicably and

on short order once the responsible party is identified

 

I'l` you claim not to be responsible for the infringement, and are Willing to voluntarily assist in
identifying the responsible party, please let us know. ln our experience given the persistent
observed level of BitTorrent activity, it has never been someone outside of the residencc, meaning
that we can almost always readily find the responsible party While the subscriber may not be the
party responsiblefor the infringing domiload/distribution, we find almost invariably that the

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XFMYC°M’°" ease 2:17-cv-00990-TSZ Document¢llltpsréllveed‘i§lf§‘}i?“l§ ‘l§'ézé“éb§°/B'Pi§"“essagei

responsible party is known to the subscribe:r, often a family member, friend or houseguest, then" we
can ascertain the responsible party based on the demographics of the observed Bit'i.`on‘ent media
downloads. lt you are willing to voluntarily assist in such investigation, the following informationis
helpful:

o Who besides you has had access to the IP address since April 20} 7? This would be someone
with very regular access given the observed Bit'[`orrent activity

¢ What is the demographic (age, language ethnicity) of those with access? This helps as we
evaluate the other observed BitTorrent activity

0 What computing devices had access‘? Bit'l`orrent may be used on a desktop, laptop or
smartphone regardless the brand Ii` necessary, we ca11 have forensic experts examine the * t '
device and if it was used for the infringement locate such evidence, even if the infringer
attempts to delete BitTorrent ortho media y

¢ Do you claim to have had an unsecured or “open” WiFi during the relevant period? That f
would be very surprising Passwords are the default with Comcast internat accdunts, and to
remove them would be m violation of Comcast policy: 1 1 ' ' l f '~ "

 

resell the Service or othermse make available to anyone outside the Prenrises the
ability to use the Service (for example, through WiFi or other methods of
networlon`g), m whole or in part, directly or indirectly, with the sole exception of ‘
your use of Comcast»provided WiFi service in accordance with its then~etn‘rent
terms and policies;

Moreover,'customers have an express obligation:

Comcast recommends against enabling tile or printer sharing unless you do so in t .
strict compliance with all security recommendations and features providedby
` Comcast and,the manufacturer ot`the applicable tile or printer sharing devices An'y
» files or devices you choose to make available for shared access on a home‘fLAN,§for"
example, should be protected with a strong password or as otherwise appropriate

You are responsible for your own compliance with this Policy You are also
responsible for any use or misuse of the Service that violates this Policy by anyone
else you permit to access the Service (such as a frieud, family member, or guest)j.;...

But let us know whether you in tactoperated an unsecured, open WiFi, during the»time
period when this occurred And if so, when the router was installed, the type of router (and
whether from Comcast of the third party), and when the password was removed and
replaced

¢ What is the physical layout of the residence (wherc are neighbors located)? This rs helpful is
there is a claim that others accessed an open WiF 1 without authorization lf you maintain that
someone outside the residence had access and committed the infringement please identify
your neighbors m close proximity to your residence

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You appreciate that it is not as simpio as saying “i did not do it.” Somcone committed the ' ~
infringe/mena using your IP address, and continued to use Bit'i`orrcnt to iafn`ngc numerous movies
over an extended period of timc. We have yet to sec any evidence in over 1000 cases where the ISP
has provided an incorrect IP address or the infringement did not occur at that IP address Rather, it
always comes down to a question of Whethcr the subscriber or someone to whom they gave or
allowed access to the IP address is responsible

Thank you

David A. `Lowe

LOWE GRAHAM JONES

701 Fiiih Avenuc, Suitc 4800 - Scattle, Washingron 98104

206.381.3300 Fax: 206.381.330] ng§Gr§h§ngn§§.gom

DD: 206.381.3303 Ceii: 206.335.3303 LQW§@LQLV§QMM

information in this c.maii message may be privileged confidential and protected
fi'om'disciostn'c. It` received in srror3 please respond and destroy all copies.

 

FromtiGNATHANDUTCZAK [mailto:ionathandutczak@comcast.netl
Sel'lb Thursday, October 12, 2017 9:31 ?M

To: David Lowe <Iowe@lowegrahamjones.com>

$ubjecl:: Re: Venice Pl v. Does, 17-cv»990

Hsl~io, l attached a copy of the letter l sent you earlier regarding this case, l don t't_hink l
should be on the same time line with the other defendants since l ve cooperated with you
thus far despite the adversarial nature of our court system Let me know if anything else
is missing or can t'be found. l got a copy in the mail today of your request to the courts
for a motion for more time. l didn t resign the letter since l don t know how to do computer
signatures but rest assured lwrota it, entailed it, and mailed it to you (ear|ier). Taks care
JD.

 

From: "JoNA'rHANouTczAK" ¢= n k t>
To= "David Lowe" <Dws@lgwssrahamio_u_esccm>

sent: wednesday october 11, 2017 3:36:33 AM `

y$i`ubjo¢,:'l:":‘ Re: Venica Pl v. Does, 17»cv~990

y Heilo, l think discovery will give us a chance to discuss the case. l will wait to safe what
the Judge does regarding a dismissal and go from there. Take care, JD.

 

From: "Da~vid Lowe" <lowg@lgwggrah§mjgn§s.ggm>

Cc= "Bléke Hocnan" <hccnan@icuag_ai)aimarassom>'
.Sent: Monday, October 9, 2017 6:16:`28 PM
Subject: Venice Pl v. Does, 17-cv-990

 

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. » _ ' ' ' ‘7' = ~...
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,~.

Mr. Dutczak,
Please see attach a copy of today’s l`iling.

As an aside, we mentioned therein, I did not receive a copy of an email from you earlier to discuss
, this case. But if you are still interested in discussing the case, I am happy to do so. `

David A. Lowe
LOWE GRAHAM JONES
701 Fitlh Avenue, Suite 4800- Seattle, Washingwa 98104

206..3813300 Fax: 206 381. 3301 LL§§@L§@QQ_UQ_
DD:206.381.3303 Cell: 206. 335. 3303 ~ l ,. __ : `

 

 

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